                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re                                                          Chapter 11

WOODBRIDGE GROUP OF                                            Case No. 17-12560 (JKS)
COMPANIES, LLC, et al.,1
                                                               (Jointly Administered)
                               Remaining Debtors.


                      NOTICE OF RESIGNATION AND APPPOINTMENT OF
                               CHIEF EXECUTIVE OFFICER

          The Woodbridge Liquidation Trust (the “Liquidation Trust”), formed pursuant to the

confirmed and effective First Amended Joint Chapter 11 Plan of Liquidation of Woodbridge

Group of Companies, LLC and its Affiliated Debtors [D.I. 2397] (the “Plan”)2 in the jointly-

administered chapter 11 bankruptcy cases (the “Chapter 11 Cases”) of Woodbridge Group of

Companies, LLC and its affiliated debtors and debtors in possession (collectively, the

“Debtors”), hereby provides notice, pursuant to Section 5.3.6 of the Plan, that Frederick Chin has

submitted his resignation as the Wind-Down CEO, effective as of December 31, 2022 and that,

pursuant to Section 5.3.7 of the Plan, Marion Fong was appointed by the Wind-Down Board and

approved by the Liquidation Trust as Wind-Down CEO, effective as of January 1, 2023.




1
    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
    follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
    (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the Plan.
Dated:   November 30, 2022      PACHULSKI STANG ZIEHL & JONES LLP
         Wilmington, Delaware
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                                -and-

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                                Counsel to the Liquidation Trust




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